 Case 2:16-cr-00055-DWA Document
                          I      71 Filed 03/18/19 Page 1 of 1
   Case 2:16-cr-00055-DWA Document 70-1 Filed 03/15/19 Page 1 of 1
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                                    I
                       IN THE UijITED STATES DISTRICT COURT
                    FOR THE WESfERN DISTRICT OF PENNSYLVANIA
                                    I
                                    !
UNITED STATES OF AMERICA ;                                  )
                                                            ) Criminal No. 16-055
               V.                                           ) Case No. 2:16-cr-00055-DWA
                                                            ) The Honorable Donetta W. Ambrose
SIMONTUSHA                                                  )




                                    .      ORDER
                                    '
                                    : Id,t/}      l/11.,, A .II L....
       AND NOW, to-wit, this        /C>~       dayo_f __  _~   _ _ _ ,2019,upon
                                    i
consideration of Defendant Simon Tusha's Motion For Enlargement of Time to Report, it
                                    I
is hereby ORDERED, that said Mo~ion is hereby GRANTED, and the date in which the

Defendant is set to self-report for incarceration, now scheduled for April 1, 2019, is

                           S/1-2 :.
hereby enlarged until ---+-/---=
                              ,v-----'---' 2019.
                             r      :




                                               Donetta W. Ambrose
                                               United States District Judge
